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 2   District of Nevada
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 3   DANIEL R. SCHIESS
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 7   Representing the United States of America

 8
                                   UNITED STATES DISTRICT COURT
 9                                      DISTRICT OF NEVADA
                                               -oOo-
10
     UNITED STATES OF AMERICA,                     )
11                                                 )   Case No.: 2:19-cr-00055-JCM-CWH
                      Plaintiff,                   )
                                                   )   STIPULATION TO CONTINUE
12                                                 )   HEARING
            vs.                                    )
13                                                 )   (FIRST REQUEST)
     KELVIN ATKINSON,                              )
14                                                 )
                      Defendant.                   )
15                                                 )

16                IT IS HEREBY STIPULATED AND AGREED, by and between NICHOLAS

17   A. TRUTANICH, United States Attorney; and DANIEL R. SCHIESS, Assistant United

18   States Attorneys, counsel for the United States of America, and RICHARD WRIGHT,

19   counsel for defendant KELVIN ATKINSON, that the sentencing hearing currently

20   scheduled for July 11, 2019 at 10:00 a.m., to one week later:

21                1. Probation needs more time to prepare report.

22                2. The defendant is not in custody and does not object to the continuance.

23   ///

24   ///
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 1              3. Additionally, denial of this request for continuance could result in a

 2   miscarriage of justice.

 3              DATED this 29th day of May, 2019.

 4
                                                    NICHOLAS A. TRUTANICH
 5                                                  United States Attorney

 6                                                         /s/
                                                    DANIEL R. SCHIESS
 7                                                  Assistant United States Attorney

 8
                                                          /s/
 9                                                  RICHARD WRIGHT
                                                    Counsel for Defendant
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           Case 2:19-cr-00055-JCM-CWH Document 13 Filed 06/03/19 Page 3 of 4



 1                                 UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEVADA
 2                                             -oOo-

 3   UNITED STATES OF AMERICA,                       )
                                                     ) Case No.: 2:19-cr-00055-JCM-CWH
                      Plaintiff,                     )
 4
                                                     ) ORDER
                                                     )
 5          vs.                                      )
                                                     )
 6   KELVIN ATKINSON,                                )
                                                     )
 7                    Defendant.                     )
                                                     )
 8

 9                                       FINDINGS OF FACT

10          Based on the pending Stipulation of counsel, and good cause appearing therefore, the

11   Court finds that:

12                1. Probation needs more time to prepare report.

13                2. Counsel for the Defendant has no objection to a brief continuance of the

14   hearing.

15                2. The defendant is not in custody and does not object to the continuance.

16                3. Additionally, denial of this request for continuance could result in a

17   miscarriage of justice.

18                For all of the above-stated reasons, the end of justice would best be served if the

19   sentencing hearing be continued to July 18, 2019, at 10:30 a.m.

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          Case 2:19-cr-00055-JCM-CWH Document 13 Filed 06/03/19 Page 4 of 4



 1                                           ORDER

 2         IT IS FURTHER ORDERED that the hearing scheduled for July 11, 2019at 10:00

 3   a.m. be vacated and continued to July 18, 2019, at
                                                     , 2019,
                                                        10:30ata.m. a.m / p.m.

 4         DATED this
                  June____ day of May, 2019.
                        3, 2019.

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 6                                            _______________________________________
                                              JAMES C. MAHAN
 7                                            UNITED STATES DISTRICT JUDGE

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